                                     Case 24-13338            Doc       Filed 07/23/24            Page 1 of 4
 Fill in this information to identify the case:
 Debtor 1
                 Beth C. Cubit fka Beth C. Sipler
 Debtor 2
                 Ethan J. Vigneault-Cubit
 (Spouse, if filing)
 United States Bankruptcy Court for the: District of Maryland___
                                                              (State)
 Case number 24-13338-DER



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses and Charges                                                                        12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

Filing this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1
 Name of creditor:     Cornerstone Home Lending, a division of
 Cornerstone Capital Bank, SSB                                                     Court claim no. (if known):    10


Last four digits of any number you use to
identify the debtor's account:                         7888


Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
               No


               Yes. Date of the last notice:


 Part 1:        Itemize Postpetiton Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do
not include any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If
the court has previously approved an amount, indicate that approval in parentheses after the date the amount was
incurred.

     Description                                                        Dates incurred                                          Amount



   1.Late charges                                                                                                       (1) $
   2.Non-sufficient funds (NSF) fees                                                                                    (2) $
   3.Attorney Fees                                                                                                      (3) $
   4.Filing fees and court costs                                                                                        (4) $
   5.Bankruptcy/Proof of claim fees                                      06/28/2024                                     (5) $   500.00
   6.Appraisal/Broker's price opinion fees                                                                              (6) $
   7.Property inspection fees                                                                                           (7) $
   8.Tax advances (non-escrow)                                                                                          (8) $
   9.Insurance advances (non-escrow)                                                                                    (9) $
  10.Property preservation expenses. Specify:                                                                          (10) $
  11.Other. Specify:       410A                                          06/28/2024                                    (11) $   250.00
  12.Other. Specify:       Notice of Appearance                          04/29/2024                                    (12) $   75.00
  13.Other. Specify:       Plan Review                                   04/26/2024                                    (13) $   150.00
  14.Other. Specify:                                                                                                   (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.



Official Form 410S2                          Notice of Postpetition Mortgage Fees, Expenses, and Charges                                Page 1
                                    Case 24-13338                  Doc        Filed 07/23/24          Page 2 of 4
Debtor 1     Beth C. Cubit fka Beth C. Sipler                                            Case Number (if known)   24-13338-DER

             First Name               Middle Name            Last Name



Part 2:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box


       I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.


  /s/ _Mark D. Meyer Date 07/23/2024
     Signature



 Print:                   Mark D. Meyer, 15070 Title         Bankruptcy Attorney
                          First name Middle Name Last name



 Company                  Rosenberg & Associates, LLC

 Address                  4340 East West Highway, Suite 600
                          Number                  Street

                          Bethesda , MD 20814
                          City                    State      Zip Code


 Contact phone            301-907-8000                       Email:      mark.meyer@rosenberg-assoc.com




Official Form 410S2                         Notice of Postpetition Mortgage Fees, Expenses, and Charges                          Page 2
                                               Case 24-13338    Doc   Filed 07/23/24   Page 3 of 4




                                                         UNITED STATES BANKRUPTCY COURT
                                                          FOR THE DISTRICT OF MARYLAND
                                                                    BALTIMORE

                              IN RE

                              BETH C. CUBIT FKA BETH C SIPLER                   Chapter 13
                              ETHAN J. VIGNEAULT-CUBIT                          Case NO. 24-13338-DER


                                   Debtor(s)
                              CORNERSTONE HOME LENDING, A
                              DIVISION OF CORNERSTONE CAPITAL
                              BANK, SSB
                              PO Box 4638
                              Englewood, Colorado 80155                         Motion No.

                                   Movant
                              v.

                              Beth C. Cubit fka Beth C Sipler
                              12102 Overlook Drive
                              Greensboro, MD 21639

                              and

                              Ethan J. Vigneault-Cubit
                              12102 Overlook Drive
                              Greensboro, MD 21639




                                   Respondent(s)



                                                                CERTIFICATE OF SERVICE
                                      I hereby certify that on the 23rd day of July 2024, I reviewed the Court’s CM/
      Mark D. Meyer
      MD BAR 15070
Rosenberg & Associates, LLC
                              ECF system and it reports that an electronic copy of the Notice of Post Petition Fees
 4340 East West Highway,
         Suite 600            will be served electronically by the Court’s CM/ECF system on the following:
   Bethesda, MD 20814
      301-907-8000
       File Number:
    24-002710-MD-B-6
                              Brian A. Tucci, Trustee
              Case 24-13338       Doc   Filed 07/23/24   Page 4 of 4




Eric Steiner, Esquire

      I hereby further certify that on 23rd day of July 2024, a copy of the Notice of
Post Petition Fees was also mailed first class mail, postage prepaid to:


Beth C. Cubit fka Beth C Sipler
12102 Overlook Drive
Greensboro, MD 21639

Ethan J. Vigneault-Cubit
12102 Overlook Drive
Greensboro, MD 21639

Respectfully Submitted,

 /s/ Mark D. Meyer
Mark D. Meyer, Esq. # 15070
Rosenberg & Associates, LLC
4340 East West Highway, Suite 600
Bethesda, MD 20814
301-907-8000
